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 6   DEPARTMENT, MONICA QUIJANO, SCOTT SMITH AND RICHARD TAMEZ
 7
                               UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10
     LUIS LORENZO VARGAS,                          CASE NO. CV16-08684 SVW (AFMx)
11                                                 Hon. Stephen V. Wilson, Courtroom 10A
                                                   Hon. Alexander F. MacKinnon, USMJ, 780 Roybal
12                Plaintiff,
13         v.                                      DEFENDANT CITY OF LOS
                                                   ANGELES’ SEPARATE
14                                                 STATEMENT OF
     CITY OF LOS ANGELES; LOS                      UNCONTROVERTED FACTS
15   ANGELES POLICE DEPARTMENT;                    AND CONCLUSIONS OF LAW IN
     COUNTY OF LOS ANGELES; OFFICE                 SUPPORT OF DEFENDANTS’
16   OF THE LOS ANGELES DISTRICT                   MOTION FOR PARTIAL
     ATTORNEY; LOS AGELES SHERIFF’S                SUMMARY JUDGMENT
17   DEPARTMENT; MONICA QUIJANO;
     RICHARD TAMEZ; and DOES 1-10
18   INCLUSIVE,                                    DATE:      June 10, 2019
                                                   TIME:      1:30 p.m.
19                                                 CTRM:      10A
                  Defendants.
20
21
           TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL:
22
           Defendants City of Los Angeles and the Los Angeles Police Department
23
     respectfully submit the following Proposed Statement of Uncontroverted Facts and
24
     Conclusions of Law in support of their Motion for Partial Summary Judgment:
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 1
           Statement of Uncontroverted Facts            Defendants’ Evidence
 2
     1. Plaintiff’s lawsuit stems from an alleged Paragraphs 1-15 of Plaintiff’s
 3
     wrongful conviction for the commission of one Second               Amended          Complaint
 4
     rape and two attempted rapes in 1998.                 (hereinafter “SAC”), attached to
 5
                                                           Declaration of Geoffrey Plowden
 6
                                                           (Hereinafter “Plowden Decl.”) as
 7
                                                           Exhibit 4.
 8
     2. Plaintiff contends the City of Los Angeles and Plaintiff’s SAC, Ex. 4 Plowden
 9
     the Los Angeles Police Department failed to train Decl.
10
     as to disclosing information pertaining to crimes
11
     identical   to   previous   investigations   and/or
12
     convictions, such as those Vargas was convicted
13
     of.
14
     3. And plaintiff contends the LAPD failed to train Plaintiff’s SAC, Ex 4 Plowden Decl.
15
     when such material constitutes Brady material and
16
     must be provided to the prosecution.
17
     4. LAPD detectives are trained in written form on Declaration of Daniel Jenks, ¶ 7
18
     discovery in criminal cases.                          (hereinafter “Jenks Decl.”)
19
     5. They are also trained on the job on discovery.     Jenks Decl. ¶ 5
20
     6. The policy of the LAPD during the 1994-2000 Jenks Decl. ¶ 5
21
     time period was for detectives to produce all
22
     discovery to the prosecutor and let him/her decide
23
     what to turn over to the criminal defendant.
24
     7. In 1999, the California Penal Code mandated Request             for   Judicial     Notice,
25
     discovery as to certain items at the time.            Plowden Decl., Exhibit 3
26
     8. In 2000, the LAPD also provided written Jenks Decl. ¶ 8
27
     training on Brady obligations, particularly as to
28

                                                    2
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 1         Statement of Uncontroverted Facts                        Defendants’ Evidence
 2   evidence relating to witnesses’ credibility.

 3   9. California Peace Officer Standards and Jenks Decl. ¶ 4
 4   Training (“POST”) did not, as of 1994-2000, have
 5   a mandatory training component on Brady.
 6   10. POST sets the minimum standards for training Jenks Decl. ¶ 4
 7   for all police agencies in California.
 8
 9                                   CONCLUSIONS OF LAW:

10   1.     Discovery of unsolved crime reports, wherein there was neither a charged or
11   arrested subject (as we have here), was deemed not to be discoverable (i.e., to be turned
12   over by police). People v Littleton (1992) 7 Cal.App.4th, 906, 911.
13
     2.     The California Penal Code governing discovery obligations in criminal cases, in
14
     effect during the 1994-2000 time period lists the following items as discoverable
15
     information and materials:
16
          (a) The names and addresses of persons the prosecutor intends to call as witnesses at
17            trial.
18        (b) Statements of all defendants.
          (c) All relevant real evidence seized or obtained as a part of the investigation of the
19            offenses charged.
20        (d) The existence of a felony conviction of any material witness whose credibility is
               likely to be critical to the outcome of the trial.
21        (e) Any exculpatory evidence.
22        (f) Relevant written or recorded statements of witnesses or reports of the statements
              of witnesses whom the prosecutor intends to call at the trial, including any reports
23            or statements of experts made in conjunction with the case, including the results
24            of physical or mental examinations, scientific tests, experiments, or comparisons
              which the prosecutor intends to offer in evidence at the trial.”
25            Cal Penal Code §1054.1 (enacted 6/6/1990)
26
     3.      A plaintiff cannot prove the existence of a municipal policy or custom based solely
27
     on the occurrence of a single incident or unconstitutional action by a non-policymaking
28
     employee.” Davis v. City of Ellensburg, 869 F .2d 1230, 1233 (9th Cir. 1989) (affirming
                                                 3
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 1   summary judgment); City of Oklahoma City v. Tuttle, 471 U.S. 808, 823-24 (1985)

 2   (“Proof of a single incident of unconstitutional activity is not sufficient to impose

 3   liability under Monell ...”)

 4   4.    Inadequacy of police training may serve as the basis for § 1983 liability only

 5   where the failure to train amounts to deliberate indifference to the rights of persons with

 6   whom the police come into contact.” Flores v. Cty. of Los Angeles, 758 F.3d 1154, 1158

 7   (9th Cir. 2014) (citing City of Canton, Ohio v. Harris, 489 U.S. 378, 379, 109 S. Ct.

 8   1197, 1199, 103 L. Ed. 2d 412 (1989) (hereinafter “Canton”). Deliberate indifference

 9   requires “proof that a municipal actor disregarded a known or obvious consequence of

10   his action.” Connick v. Thompson, 563 U.S. 51, 61, 131 S. Ct. 1350, 1360 (2011).

11   “Accordingly, the City's policymakers must have been ‘on actual or constructive notice

12   that a particular omission in their training program causes city employees to violate

13   citizens' constitutional rights.’ ” Rabinovitz v. City of Los Angeles, 287 F. Supp. 3d 933,
14   966 (C.D. Cal. 2018) (citing Connick, 563 U.S. at 61.)
15   5.    To show actual or constructive notice, plaintiff “must either present a ‘pattern of
16   similar constitutional violations by untrained employees’ or they must show that the
17   municipality ‘has failed to train its employees to handle recurring situations presenting
18   an obvious potential for’ constitutional violations.” Id. (citing Connick, 563 U.S. at 107,
19   n. 24; Board of Cty. Com'rs of Bryan Cty. v. Brown, 520 U.S. 397, 409, 117 S.Ct. 1382,
20   137 L.Ed.2d 626 (1997))
21   6.    California Government Code section 945.4 (when read together with Section
22   950.2) provides that no lawsuit can be brought against a public entity or public
23   employee which a claim is required “until a written claim therefor has been presented”
24   to the public entity.
25   7.    Failure to submit a pre-lawsuit claim is fatal to a state tort law cause of action.
26   Janis v. State Lottery Comm’n, 68 Cal.App.4th 824, 832 (1998)
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 1   8.    In Celotex Corp. v. Catrett, 477 U.S. 317 (1986), the Court held that a party

 2   moving for summary judgment need only show that the opposing party lacks evidence

 3   sufficient to support its case.

 4   Dated: May 15, 2019         MICHAEL N. FEUER, City Attorney
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 5                               CORY M. BRENTE, Assistant City Attorney
 6
                                 By:       /S/ -Geoffrey Plowden           .
 7                                     GEOFFREY PLOWDEN, Deputy City Attorney
 8                               Attorneys for Defendants, CITY OF LOS ANGELES,
                                 LOS ANGELES POLICE DEPARTMENT,
 9                               MONICA QUIJANO and RICHARD TAMEZ
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